                 CASE 0:19-cv-02112-JNE-LIB Doc. 21 Filed 05/04/20 Page 1 of 1


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VIA ECF

The Honorable Joan E. Ericksen
United States District Court
300 South Fourth Street
Minneapolis, MN 55415

Re:       Scott Lundberg v. Sid Harvey Industries, Inc.
          Civil No. 19-2112 (JNE/LIB)

Dear Judge Ericksen:

I write in response to the May 4, 2020 letter filed by counsel for Plaintiff Scott Lundberg regarding the
hearing on June 16, 2020 at 9:30 a.m. Defendant Sid Harvey Industries, Inc., has no objection to
conducting the hearing via telephone or video conference.

Sincerely,

s/Grant D. Goerke

Grant D. Goerke

GDG/pr
cc:    Kerry Middleton

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